          Case 5:18-cv-00082-JKP Document 73 Filed 10/21/19 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

LUIS RANGEL, et al.,

             Plaintiffs,

v.

ADTALEM GLOBAL EDUCATION INC.,
                                                       No.: SA-5:18-cv-00082-JKP
formerly known as DEVRY EDUCATION
GROUP, INC. and DEVRY UNIVERSITY,
                                                       Hon. Jason K. Pulliam
INC.,
                                                       Magistrate Judge Elizabeth S.
                                                       Chestney
             Defendants.

      Consolidated with:

TROY LINDBERG, et al.,

             Plaintiffs,

v.

ADTALEM GLOBAL EDUCATION INC.,
formerly known as DEVRY EDUCATION
GROUP, INC. and DEVRY UNIVERSITY,
INC.



                JOINT PROPOSED SCHEDULING RECOMMENDATIONS

       The Parties recommend that the following deadlines be entered in the scheduling order to
control the course of this case. In accordance with Federal Rule of Civil Procedure 6(a), if a
deadline set in this order falls on a weekend or a holiday, the effective day will be the next
business day.

     1.      The Parties have made initial disclosures pursuant to Federal Rule of Civil Procedure
             26(a)(1) and will supplement such disclosures as necessary pursuant to the Rules.

     2.      The Parties filed a report on alternate dispute resolution on August 16, 2018 (Dkt. 32).
             The Parties reaffirm and incorporate their respective positions set forth in that report.

     3.      Parties asserting claims for relief submitted written offers of settlement before filing
             suit, and each opposing party responded in writing on August 14, 2018.
      Case 5:18-cv-00082-JKP Document 73 Filed 10/21/19 Page 2 of 5



4.      On or before May 21, 2019, the parties shall file any motion seeking leave to amend
        pleadings or join parties. To the extent it may apply in this case, the deadline for
        Defendant(s) to file a motion to designate responsible third parties, pursuant to Texas
        Civil Practices & Remedies Code § 33.004(a), is 60 days before the date of trial in this
        matter.

5.      Parties asserting claims for relief shall file their designation of testifying experts and
        serve on all parties, but not file, the materials required by Federal Rule of Civil
        Procedure 26(a)(2)(B), on or before September 4, 2020.

6.      Parties resisting claims for relief shall file their designation of testifying experts and
        serve on all parties, but not file, the materials required by Federal Rule of Civil
        Procedure 26(a)(2)(B), on or before October 16, 2020.

7.      Parties shall file all designations of rebuttal experts and serve on all parties the material
        required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to
        the extent not already served, within fourteen days of receipt of the report of the
        opposing expert.

8.      The deadline to file supplemental expert reports required under Federal Rule of Civil
        Procedure 26(e)(2) is at least 30 days before trial. The parties are advised any report
        filed under this deadline may only supplement the initial report and may not introduce
        new opinion or subject matter. This deadline is not intended to provide an extension of
        the deadline by which a party must deliver the substance of its expert information or
        opinion.

9.      Parties shall initiate all discovery procedures in time to complete discovery on or
        before September 25, 2020. Written discovery requests are not timely if they are filed
        so close to this deadline that under the Federal Rules of Civil Procedure the response
        would not be due until after the expiration of the deadline. See Local Rule CV-16(d).
        Counsel may by agreement continue discovery beyond the deadline. The parties are
        advised that should they agree to extend discovery beyond the deadline, there will be
        no intervention by the Court except in exceptional circumstances. No trial setting or
        other deadline set forth herein will be vacated due to information obtained in post-
        deadline discovery. See Local Rule CV-7(d).

10.     Counsel shall confer and file a joint report setting forth the status of settlement
        negotiations within 30 days of the Court’s ruling on the pending Motion to Dismiss.

11.     Within 30 days of the receipt of the expert’s written report of the expert’s proposed
        testimony, or within 30 days of the expert’s deposition, whichever is later, the parties
        shall file any Daubert motions and challenge to or motion to exclude expert witnesses.
        Any such motion must specifically state the basis for the objection and identify the
        objectionable testimony.

12.     On or before November 30, 2020, parties shall file any dispositive motions, including
        motions for summary judgment on all or some of the claims. Further, notwithstanding

                                             2
      Case 5:18-cv-00082-JKP Document 73 Filed 10/21/19 Page 3 of 5



        any deadline provided herein, no motion (other than a motion in limine) may be filed
        after this date except for good cause.

13.     The Court will set dates for trial and the final pretrial conference after ruling on any
        dispositive motions or after the deadline for such motions passes without a pertinent
        filing. At that time, the Court will also set appropriate deadlines for trial and pretrial
        conference matters.

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                                      And

                                            3
Case 5:18-cv-00082-JKP Document 73 Filed 10/21/19 Page 4 of 5



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                               4
         Case 5:18-cv-00082-JKP Document 73 Filed 10/21/19 Page 5 of 5




                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all counsel of record via the

ECF document filing system and via email this 21st day of October, 2019.


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